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              EXHIBIT C
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                                SETTLEMENT AGREEMENT

       This Post-Judgment Settlement Agreement ("Agreement") is made by and between
Universitas Education, LLC ("Universitas"), Donna Vassar ("Vassar"), Sharon Siebert
("Siebert"), and Riemer Braunstein, LLP ("Firm"), collectively referred to as the "Parties" or
individually as a "Party."

                                           RECITALS

        WHEREAS, on May 18, 2019, Firm initiated an action in the Superior Court of the
Commonwealth of Massachusetts, Suffolk County ("Court") against Universitas, Vassar, and
Siebert (collectively "Defendants") for, inter alia, breach of contract, in connection with the
nonpayment of certain legal fees incurred by Universitas during Firm's representation of
Universitas, which is captioned Riemer Braunstein LLP v. Universitas Education, LLC et al.,
Case No. 1984CV01493 (2019) (the "Lawsuit"); and

        WHEREAS, Firm alleged in the Lawsuit that Defendants owed Firm $402,201.08 for
legal services performed in Firm's representation of Universitas in multiple matters related to the
execution of a Judgment against, inter alia, Daniel E. Carpenter, Nova Group, and Charter Oak
Trust; and

       WHEREAS, the Parties entered into a non-binding mediation before JAMS Mediation,
Arbitration, and ADR Services (the "Mediation") on February 4, 2020; and

       WHEREAS, the Parties entered into a JAMS Settlement Agreement (the "JAMS
Settlement"), which required Defendants to pay Firm $275,000 in full settlement of Firm's
claims in the Lawsuit by September 5, 2020. The Parties also agreed to stay the Lawsuit and
update the Court regarding the status of the JAMS Settlement on or after September 5, 2020; and

        WHEREAS, the Defendants failed to pay Firm $275,000 on or before September 5, 2020
as required by the JAMS Settlement due to their inability with the COVID-19 pandemic to
proceed to judgment in the cases listed in Exhibit A; and

      WHEREAS, the Pmiies stipulated to an Agreement of Judgment ("Judgment") in the
Lawsuit, which was submitted to the Court on September 8, 2020; and

       WHEREAS, the Judgment enters judgment in favor of Firm against Defendants, in the
amount of $275,000.00, with no pre-judgment interest or costs, but with post-judgment interest
accruing at 12% per annum.

       WHEREAS, Firm agrees that it will not seek to enforce the Judgment before December
1, 2020.

       NOW, THEREFORE, in consideration of the mutual promises made herein, the Parties
hereby agree as follows:
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                                 I.           Settlement Agreement

        (a)     Per the terms of the Judgment, Universitas, Siebert, and/or Vassar must pay Firm
$275,000.00 in full satisfaction of the judgment entered against Universitas, Siebert and Vassar
in the Lawsuit plus post judgment interest. Firm will receive first priority on any recovery of
funds from Daniel E. Carpenter or any related entities and any recovery from any litigation
related to the recovery of the funds stolen by Daniel Carpenter and his affiliates and affiliated
entities from Universitas. A list of all pending cases seeking to recover money or assets from
Daniel Carpenter and his affiliated entities is attached herein as Exhibit A.

      (b)    Firm shall not initiate collection actions or otherwise seek to enforce the
Judgment before December 1, 2020.

       (c)     If the Judgment is paid before December 1, 2020, post-judgment interest will be
waived.

                                      II.         Entire Agreement

       This Agreement constitutes the entire agreement of the Parties related to the Claims. No
term, provision, or condition of this Agreement may be modified in any respect except by a
writing executed by each Party.

                                        ID.        Choice of Law

        This Agreement shall be interpreted and construed in accordance and shall be governed
by the laws of Massachusetts and, where applicable, the laws of the United States. Any litigation
related to any dispute under this Agreement shall be brought exclusively in the state or federal
courts of Suffolk County, Massachusetts. Each Party expressly consents to the jurisdiction of
such court in the event of such litigation.

                                            IV.     Counterparts

       This Agreement may be executed in counterparts and by facsimile, and each counterpart
and facsimile shall have the same force and effect as an original and shall constitute an effective,
binding agreement on the part of each of the undersigned.


                                      Signatures on Next Page




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IN WITNESS HEREOF, the Parties have duly executed this Agreement in multiple originals as
of the date so states.


Riemer Braunstein, LLP


 Isl Peter H Sutton                                      9/8/2020
                                                       Date
By: Peter H. Sutton
Its Authorized Representative


Universitas Education, LLC,
Donna Vassar and Sharon Siebert




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                                              EXHIBIT A

                                              List of Cases

    1. Universitas Education, LLC v. Jack E. Robinson, 111 alkla Jack E. Robinson, No. 1:15-
       CV-11848 (DPW) (D. Mass. 2015). 1
    2. Universitas Education, LLC v. SDM Holdings, LLC et al., No. 14-FJ-05-HE (W.D. Okla.
       2014).
    3. Universitas Education, LLC v. Benistar, et al., No. 3:20-cv-000738-JAM (D. Conn.
       2020).
          a. Pre-Judgment Remedy Attachments:
                   1. 100 Grist Mill Road, Simsbury, CT owned by Grist Mill Partners, LLC;
                  11. 18 Pond Side Lane, Simsbury, CT owned by Molly Carpenter; and
                 111. 392B Cards Pond Road, South Kingstown , RI owned by Moonstone
                      Partners.


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 This includes any future related litigation, including but not limited to, claims and lawsuits brought
against Lillian Granderson or any other affiliates or family of Mr. Robinson.


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